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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
EDMOND GRANT P/K/A “EDDY GRANT,” ET
AL.,                                                20-cv-7103 (JGK)

                         Plaintiffs,                ORDER

             - against -

DONALD J. TRUMP, ET AL.,

                     Defendants.
 ────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The defendants should mail a courtesy set of the papers in

hard copy to the Court.

SO ORDERED.

Dated:       New York, New York
             January 15, 2021

                                          ______/s/ John G. Koeltl_____
                                                 John G. Koeltl
                                          United States District Judge
